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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                           FT. LAUDERDALE DIVISION

   SPRINT COMMUNICATIONS, INC.,

         Plaintiff,

   v.
                                                   Case No. 0:18-cv-60788-JEM
   STEPHEN CALABRESE, as an individual,
   NEXTEL, INC. d/b/a NEXTEL                              Jury Trial Demanded
   WORLDWIDE, RETROBRANDS USA
   LLC, and JEFFREY KAPLAN, as an
   individual,

         Defendants.


            PLAINTIFF’S OBJECTIONS TO THE JULY 5, 2018 REPORT AND
                RECOMMENDATION ON PLAINTIFF’S MOTION FOR
                    ENTRY OF A PRELIMINARY INJUNCTION
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         Plaintiff Sprint Communications, Inc. (“Sprint Communications”), by counsel and

  pursuant to 28 U.S.C. § 636(b)(1) and Fed. R. Civ. P. 72, hereby submits the following objections

  to the July 5, 2018 Report and Recommendation, which recommends that the Court deny Sprint

  Communications’ Motion for Entry of a Preliminary Injunction against Defendants Stephen

  Calabrese, Nextel, Inc. d/b/a Nextel Worldwide, Retrobrands USA LLC, and Jeffrey Kaplan

  (collectively, “Defendants”), and states as follows:

  I.     INTRODUCTION

         Two days after filing the above-captioned case, Sprint Communications filed a Motion for

  Entry of a Preliminary Injunction (the “Motion”), seeking to enjoin, among other things,

  Defendants’ willful counterfeiting and infringement of Sprint Communications’ famous NEXTEL

  trademark (“NEXTEL Mark”) as well as Defendants’ unfair competition and cybersquatting. See

  [D.E. 6] Pl.’s Mot. for Prelim. Inj. (“Pl.’s Mot.”); [D.E. 26] Pl.’s Reply in Supp. of Pl.’s Mot.

  (“Pl.’s Reply”). Sprint put forward documentary and testimonial evidence supporting both its

  claims as well as its right to injunctive relief. See, e.g., [D.E. 6-1 to 6-31] Decl. of Melissa Jobe

  (“Jobe Decl.”) & Exs. 1-30 to Jobe Decl.; [D.E. 6-32 to 6-37] Decl. of Brian Mancuso (“Mancuso

  Decl.”) & Exs. A-D to Mancuso Decl.; [D.E. 43] Index of Pl.’s Exs. Admitted During Prelim. Inj.

  Hearing (reflecting admission of physical evidence produced at the hearing); [D.E. 57] Tr. of

  Prelim. Inj. Hearing (“Hearing Tr.”).

         In response, Defendants conceded that their adoption and use of a counterfeit NEXTEL

  Mark – which incorporates not just the mark itself but also the exact NEXTEL branding down to

  color and how the letters are presented – constitutes textbook counterfeiting, infringement, unfair

  competition, and other Lanham Act violations. See generally [D.E. 20] Defs.’ Opp’n to Pl.’s Mot.;

  see also Pl.’s Mot. at 11 (showing a side-by-side comparison of the parties’ marks). Their sole

  defense of their admittedly unlawful conduct is the unsupported claim that Sprint abandoned the
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  famous NEXTEL Mark, allowing Defendants to adopt a counterfeit NEXTEL Mark in connection

  with the same goods and services offered by Sprint Communications and capitalize on the

  significant goodwill and fame that Sprint Communications, its predecessors-in-interest, and prior

  and current licensees (collectively, “Sprint”) created over the last thirty years. See id.

         But Defendants’ sole “defense” is meritless. It does not even apply to Sprint’s false

  designation of origin/unfair competition claim, and in any event, Sprint provided evidence to show

  that it has not abandoned the NEXTEL Mark. See infra Section III.B.1.

         The Court referred the Motion for a Report and Recommendation. There was a hearing on

  May 8, 2018, and the Report and Recommendation issued on July 5, 2018 (the “R&R”). See [D.E.

  58] R&R. Although Sprint demonstrated that it is entitled to a preliminary injunction to stop the

  harm Defendants’ counterfeiting scheme is perpetrating on Sprint and the consuming public

  (including first responders that rely on these goods and services for literally life-and-death

  situations), the R&R recommended the Court deny the Motion for two reasons: (1) Sprint’s alleged

  delay in seeking preliminary relief; and (2) insufficient evidence to establish either continuing

  trademark use or a likelihood of confusion (the latter despite Defendants’ use of the exact same

  mark, branding, goods and services, methods of marketing, and consumer base, and despite the

  evidence of actual confusion and Defendants’ admitted bad intent). R&R at 8-13.

         Sprint respectfully disagrees with the R&R’s findings and recommendations on the Motion

  and therefore files these objections, asking the Court to grant Sprint’s Motion after conducting a

  de novo review.

  II.    BACKGROUND

         To aid the Court in its de novo review of Sprint’s objections, Sprint provides the below

  overview of pertinent facts. A more detailed account of the facts can be found in the papers Sprint

  previously submitted in support of the Motion (the “Motion Papers”), which Sprint incorporates


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  by reference as if set forth fully herein. See Pl.’s Mot.; Pl.’s Reply; Jobe Decl.; Mancuso Decl.

         A.      Sprint’s Rights in the Nearly Thirty-Year-Old, Famous NEXTEL Mark

         Sprint owns and has incontestable trademark registrations for the famous NEXTEL Mark.

  Jobe Decl. ¶ 4 & Exs. 1-2. Sprint has used the famous NEXTEL Mark in connection with wireless

  devices over the last approximately thirty years, including but not limited to the recent use in

  connection with the Sonim XP Strike IS, a “rugged” device marketed to businesses and first

  responders because of its durability, reliability, and two-way radio communication features. Id. ¶¶

  6-9; Hearing Tr. at 13:25-15:11. Sprint submitted evidence of its ownership and use of the

  NEXTEL Mark in connection with the Motion, including but not limited to (a) evidence of Sprint’s

  valid, incontestable registrations for the NEXTEL Mark; (b) evidence showing the Sonim XP

  Strike IS product boxes and manuals that bear the NEXTEL Mark; and (c) testimony that Sprint

  has actual sales of the Sonim XP Strike IS as recently as December 2017. Jobe Decl. ¶¶ 4, 9 &

  Exs. 1-2, 4; Pl.’s Exs. 43-44 (admitted during the preliminary injunction hearing); Hearing Tr. at

  13:25-15:11.

         B.      Defendants’ Violations of Sprint’s Rights in the Famous NEXTEL Mark

         Defendants’ unlawful conduct breaks down into two distinct periods: (1) violations

  committed by Defendants Calabrese and NW Entity that began and ended in 2017; and (2)

  violations committed by all four Defendants that began in 2018 and are ongoing.

         1.      The 2017 Infringement and Sprint’s Response

         The first infringement period began when Defendants Calabrese and NW Entity

  (collectively, “NW Entity”) – acting alone and without involvement by Defendants Kaplan and

  Retrobrands – started promoting, advertising, offering to sell, and selling wireless devices using a

  counterfeit NEXTEL Mark. See Jobe Decl. ¶¶ 10-12, 20-26 & Exs. 14-16. Sprint first learned

  that NW Entity was using a counterfeit NEXTEL Mark to compete with Sprint when Sprint


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  employees came across NW Entity promoting, advertising, selling, and offering to sell wireless

  devices under that counterfeit mark at the International Wireless Communications Expo (“IWCE”)

  industry show in March 2017. Id. ¶ 27; see also Mancuso Decl. ¶¶ 7-18 & Exs. A-D. Sprint was

  also attending that show to promote its own wireless devices and several consumers approached

  Sprint employee Brian Mancuso to express confusion as to why Sprint would have two booths,

  evidencing their mistaken belief that NW Entity’s ‘Nextel’ booth and counterfeit products were

  part of the genuine NEXTEL brand and therefore were associated with or connected to Sprint,

  when they were not. Mancuso Decl. ¶ 16.

          Upon discovering NW Entity’s counterfeiting, Sprint sent cease and desist letters to NW

  Entity as well as all of its purported dealers and distributors, asserting Sprint’s rights in the famous

  NEXTEL Mark and demanding that those entities and individuals cease all use of the NEXTEL

  Mark. Jobe Decl. ¶ 28 & Ex. 17. Many of the dealers and distributors quickly responded that they

  would not sell or advertise counterfeit NEXTEL products for NW Entity. Id. ¶ 29 & Ex. 18. Some

  also specifically stated that NW Entity had led them to believe that NW Entity was authorized to

  use the NEXTEL Mark or owned the actual, three-decade old brand. Id. ¶ 30 & Ex. 18.

          NW Entity, through its counsel, then explicitly told Sprint that it would cease use of

  NEXTEL and actually did stop that use. Id. ¶¶ 33-37, 39-40; [D.E. 26-1, 26-3] Suppl. Decl. of

  Melissa Jobe (“Suppl. Jobe Decl.”) ¶ 4 & Ex. B. This is not a case where the parties were in

  negotiations. Sprint actually resolved (or reasonably believed it had resolved) its initial dispute

  with NW Entity in 2017. Id. There was literally nothing at that point that would merit filing for

  an injunction.

          2.       The 2018 and Ongoing Infringement and Sprint’s Response

          NW Entity decided to go back on its representation to Sprint and teamed up with

  Defendants Retrobrands and Kaplan (collectively, “Retrobrands”) to launch a new counterfeiting


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  scheme in 2018. The first public action in that scheme appears to have occurred from January 29-

  30, 2018, when Retrobrands, not NW Entity, filed an application to register the counterfeit

  NEXTEL Mark with the United States Patent and Trademark Office (“USPTO”) and filed a

  Petition to Cancel Sprint’s federal registrations for the famous NEXTEL Mark. See Jobe Decl. ¶¶

  51, 57-58 & Exs. 26, 30. But neither the Petition to Cancel nor Retrobrands’ application, let alone

  any other publicly available information, made it clear upon what grounds Retrobrands based its

  claim to Sprint’s famous NEXTEL Mark. See Exs. 26, 30 to Jobe Decl. Retrobrands’ website

  suggested it did not personally use the NEXTEL Mark, and its public comments about its rights

  referred only cryptically to an unidentified licensee. See, e.g., Exs. 21, 28-29 to the Jobe Decl. As

  such, there was no way to tell what Retrobrands was doing, let alone to link them to NW Entity.

  See, e.g., Jobe Decl. ¶¶ 48-50, 53, 55-56 (explaining some of the steps she took to investigate

  Sprint’s claims and form a good faith basis regarding the relationship between Defendants). This

  is particularly true because, at the very same time that Retrobrands and NW Entity were launching

  this new, joint attack on Sprint’s three-decade old rights in the famous NEXTEL Mark, NW Entity

  went out of its way to falsely reassure Sprint in a February 8, 2018 email that it was honoring its

  prior representation that it “ha[d] stopped using the mark” and that Sprint could therefore “close

  [its] file on this matter.” Jobe Decl. ¶ 43 & Ex. 20.

         It took two months of investigation for Sprint to unravel the details of Defendants’ joint

  violation of Sprint’s intellectual property rights. See, e.g., Jobe Decl. ¶¶ 46-50, 53, 55-56 & Exs.

  21-26, 28-29. Sprint confirmed that Retrobrands was not actually using the NEXTEL Mark but

  instead claimed ownership as the licensor. See, e.g., id. Sprint eventually learned that the unnamed

  licensee was in fact NW Entity. See, e.g., id.

         In March 2018, Sprint employees learned that Defendants were at IWCE 2018 and were




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   using the counterfeit NEXTEL Mark to advertise, promote, sell, and offer to sell wireless devices

   in direct competition to Sprint, which was also at that show. Mancuso Decl. ¶¶ 7-8, 10-14 & Exs.

   A-D.   Consumers again approached Sprint employees to express the mistaken belief that

   Defendants’ ‘Nextel’ booth and counterfeit products were affiliated with or in some other way

   connected to Sprint and the genuine NEXTEL brand. Mancuso Decl. ¶ 17.

          Sprint immediately acted to draft and file its Complaint on April 11, 2018 and its

   Preliminary Injunction motion, filed two days later, requesting the Court preliminarily enjoin

   Defendants’ unfair competition, cybersquatting, infringement, and counterfeiting.

   III.   ARGUMENT

          Sprint demonstrated that it is entitled to injunctive relief to stop Defendants from

   continuing to use their counterfeiting scheme to confuse the public, unfairly compete with Sprint,

   and profit off the goodwill embodied in Sprint’s famous NEXTEL Mark. It respectfully submits

   that nothing in the R&R warrants a different conclusion.

          As an initial point, the Defendants do not dispute at all that Sprint is entitled to injunctive

   relief based on its cybersquatting claim, and the R&R fails to mention this claim. See Pl.’s Mot.

   at 15-17; see also R&R at 1-14; Defs. Opp’n at 1-19. Sprint therefore requests the Court enter an

   injunction on that claim for the reasons set forth in the Motion Papers, which were not responded

   to by Defendants.

          With respect to Sprint’s remaining requested relief, the R&R recommends denial of the

   Motion based on (A) the claim that Sprint unreasonably delayed in seeking a preliminary

   injunction; and (B) that Sprint did not provide sufficient evidence to establish a likelihood of




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   success on the merits on the infringement and counterfeiting claims. 1 See R&R at 8-13. Sprint

   respectfully objects to both grounds because they are unsupported by the law and facts.

          A.      Sprint Did Not Unjustifiably Delay in Seeking Preliminary Relief

          The R&R first states that Sprint is not entitled to preliminary relief because (1) Sprint

   allegedly waited a year after it sent a cease and desist letter to NW Entity before filing suit; and

   (2) Sprint did not contact Retrobrands at all prior to filing the lawsuit and waited two and half

   months after learning about the mere existence of Retrobrands to seek injunctive relief. See R&R

   at 8-10. Sprint respectfully disagrees with both the R&R’s factual findings and its application of

   those findings to the law.

          Although delay may militate against entry of a preliminary injunction, it only does so when

   the delay is unjustified. See, e.g., Intec, Inc. v. Monster Cable Prods., Inc., No. 10-22772-civ,

   2011 WL 13223537, at *3 (S.D. Fla. Sept. 6, 2011) (Martinez, J.); Rebel Debutante LLC v.

   Forsythe Cosmetic Grp., Ltd., 799 F. Supp. 2d 558, 580 (M.D.N.C. 2011). The principle behind

   this rule is that a party will act expeditiously to protect itself against immediate and imminent

   irreparable harm. See, e.g., Monster Cable, 2011 WL 13223537, at *3; Rebel Debutante, 799 F.

   Supp. 2d at 580.

          There is no delay that justifies denying Sprint’s Motion. Instead, Sprint acted diligently

   from the start to address what for purposes of a delay analysis must be treated as two separate

   events: (1) the initial violation of Sprint’s rights perpetrated by NW Entity alone that Sprint

   reasonably believed ended and actually did end in 2017 (something NW Entity assured Sprint of




   1
     The R&R does not address the remaining preliminary injunction factors. R&R at 8-13. Sprint
   respectfully refers the Court to Sprint’s Motions Papers, which establish that those elements are
   satisfied.

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   as late as February 2018); 2 and (2) the violation of Sprint’s rights by all the Defendants that started

   at the end of January 2018 but was only fully revealed in March of 2018, a few of weeks before

   Sprint filed its Complaint and Motion. See supra Section II; infra Sections III.A.1-2.

          1.      Sprint Acted Expeditiously to Stop Irreparable Harm Stemming from
                  Infringements in 2017

          NW Entity’s counterfeiting and unfair competition in 2017 cannot support a finding of

   unjustified delay. It is undisputed that Sprint learned of NW Entity’s unlawful conduct in March

   or April of 2017. Jobe Decl. ¶ 27. Sprint acted quickly to stop the harm stemming from that

   conduct by sending cease and desist letters to not just NW Entity but also NW Entity’s purported

   distributors and dealers. See Id. ¶¶ 27-28 & Ex. 17. Several of those purported distributors and

   dealers quickly agreed to and did stop promoting and/or selling NW Entity’s counterfeit NEXTEL

   products, and NW Entity itself fully stopped use of the counterfeit NEXTEL Mark in 2017,

   assuring Sprint it would never take such actions again. Id. ¶¶ 29, 33-37, 39-40 & Ex. 18; Suppl.

   Jobe Decl. ¶ 4 & Ex. B.

          Sprint’s persistent efforts and NW Entity’s 2017 voluntary cessation of infringement are

   significant. They distinguish this case from the ones relied upon in the R&R where the parties

   engaged in half-hearted year-long attempts at non-litigation-based resolutions that proved

   unfruitful, and then delayed even further after filing a lawsuit to seek preliminary injunctive relief.

   See Menudo Int’l, LLC v. In Miami Prod., LLC, No. 17-21559-civ, 2017 WL 4919222, at *3-*6

   (S.D. Fla. Oct. 31, 2017) (finding delay unjustified because the plaintiff did not act diligently to



   2
    The R&R suggests that Sprint should have acted as soon as NW Entity filed an intent-to-use
   application to register NEXTEL with the United States Patent and Trademark Office in October
   2016. But Sprint had no legal remedy at that time because an intent-to-use application on its face
   means that there is no actual use to support infringement or unfair competition claims; even an
   opposition to the application was not ripe because the application had not completed
   examination.

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   try to protect itself in the two years between learning of infringement and seeking injunctive relief);

   Seiko Kabushiki Kaisha v. Swiss Watch Int’l, Inc., 188 F. Supp. 2d 1350, 1352 (S.D. Fla. 2002)

   (plaintiff only sent two letters over the course of a year, never received a response from the

   defendant, and waited another three months to file suit after receiving no response to its second

   letter); Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016) (plaintiff offered

   no explanation for its five month delay).

          Because Sprint’s efforts were quickly successful and NW Entity and its dealers stopped

   using the counterfeit NEXTEL Mark, Sprint had no need (or basis) for judicially ordered relief in

   2017: Sprint was able to get NW Entity to effectively agree to a self-injunction without court

   intervention, something to be encouraged, not punished. See, e.g., Rebel Debutante, 799 F. Supp.

   2d at 580 (“The law encourages conciliation efforts to avoid the expense and time of litigation,”

   rather than using those efforts to find delay); Wetzel’s Pretzels, LLC v. Johnson, 797 F. Supp. 2d

   1020, 1029 n.4 (C.D. Cal 2011) (same); see also Seiko, 188 F. Supp. 2d at 1356 (recognizing that

   courts should give plaintiffs credit for trying to resolve disputes without judicial intervention).

          2.      Sprint Acted Expeditiously to Seek Judicial Relief to Stop Irreparable Harm
                  Stemming from the Resumption and Expansion of Infringements in 2018

          Although Sprint’s delay is truly no more than a month, even the two and a half month

   period between when Retrobrands filed the Petition to Cancel Sprint’s three federal registrations

   for NEXTEL-formative marks and when Sprint sought preliminary injunctive relief would not

   warrant a finding of unjustified delay. Courts routinely excuse “delays” of under three months

   and this case should be no different. See, e.g., Monster Cable, 2011 WL 13223537, at *3

   (Martinez, J.) (finding a “three-month delay [to] filing suit and [an] additional two-month delay

   seeking a preliminary injunction are not long enough to militate against granting a preliminary

   injunction” in a trademark infringement case); AT&T Mobility LLC v. Nat’l Ass’n for Stock Car



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   Auto Racing, 487 F. Supp. 2d 1370 (N.D. Ga. 2007) (granting preliminary relief despite two to

   three month delay), rev’d on other grounds, 494 F.3d 1356 (11th Cir.); see also Polar Corp. v.

   PepsiCo, Inc., 789 F. Supp. 2d 219 (D. Mass. 2011); Juicy Couture, Inc. v. Bella Int’l Ltd., 930 F.

   Supp. 2d 489 (S.D.N.Y. 2013); Bulman v. 2BKCO, Inc., 882 F. Supp. 2d 551 (S.D.N.Y. 2012);

   Athleta, Inc. v. Pitbull Clothing Co., 12-10499, 2013 WL 142877 (C.D. Cal. Jan. 7, 2013).

          This is especially true given that Sprint spent the two and half month period between the

   filing of the Petition to Cancel and the Motion for Preliminary Injunction investigating its claims.

   Sprint had little information about Retrobrands in January 2018. The Petition to Cancel did not

   contain information regarding Retrobrands use of the NEXTEL Mark and the company’s public

   statements all referred to an unnamed licensee. See, e.g., Exs. 21, 28-30 to Jobe Decl. At the same

   time, NW Entity was going out of its way to reassure Sprint that NW Entity “ha[d] stopped using

   the mark,” and that Sprint could “close [its] file on this matter.” Jobe Decl. ¶ 43 & Ex. 20. Sprint

   therefore had to use limited publicly available information to piece together that, contrary to those

   assurances, Defendants were acting in concert, as well as to understand exactly what Defendants

   were doing and the scale of their unlawful conduct. See, e.g., Jobe Decl. ¶¶ 48-50, 53, 55-56.

          Any “delay” by Sprint is therefore not the type of delay that courts point to when denying

   preliminary injunctive relief. It reflects Sprint’s good faith investigation into the nature and scope

   of its claims and is therefore justified. See, e.g., BP Chemicals Ltd. v. Formosa Chemical & Fibre

   Corp., 229 F.3d 254, 264 (3rd Cir. 2000) (“To the extent that delay can justify denial of a motion

   for a preliminary injunction a delay caused by a plaintiff's good faith efforts to investigate an

   infringement or to determine how serious an infringement is does not preclude a finding of

   irreparable harm.”); see also Polar Corp., 789 F. Supp. 2d at 239 (finding excusable delay where

   it took time for the plaintiff to determine exactly what the defendant was doing). Sprint therefore




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   respectfully requests that the Court decline to adopt the R&R’s finding of unjustified delay.

          B.      Sprint Easily Established a Likelihood of Success on the Merits

          The second reason the R&R gives for denying the Motion is that Sprint allegedly failed to

   show a likelihood of success on the merits because (1) Sprint did not provide specific sales data,

   and (2) Sprint did not provide enough evidence regarding certain likelihood of confusion factors.

   R&R at 10-13. Sprint respectfully objects that these conclusions are not supported by law or fact.

          1.      Sprint Did Not Need to Provide Sales Data to Establish a Likelihood of
                  Success on the Merits

          Ignoring all of the testimony and evidence put forward by Sprint, the primary ground that

   the R&R gives for why Sprint allegedly did not establish a likelihood of success on the merits is

   that Sprint cannot establish use of its famous NEXTEL Mark without providing specific financial

   data regarding revenue generated or units sold under the NEXTEL Mark, even though it provided

   physical evidence of that use on product boxes as well as sworn testimony regarding that use.

   R&R at 10-13. Sprint objects to that conclusion for two reasons.

          i.      Sprint’s Unfair Competition Claim Does Not Even Require Evidence of Use

          First, Sprint does not need to establish current use of the NEXTEL Mark to show a

   likelihood of success on the merits. As set forth more fully in Sprint’s prior briefing, actual current

   use of a trademark is not needed to support a claim for false designation of origin or unfair

   competition. See, e.g., Bayer Consumer Care AG v. Belmora LLC, 819 F.3d 697, 709-10 (4th Cir.

   2016) (holding that use of a trademark is not required to bring such claims); Restatement (Third)

   of Unfair Competition § 30 cmt. a (1990) (“A designation that has been abandoned … may for a

   time retain its significance as an indication of association with the former user. During the period

   of residual significance, use of the designation by another is likely to be perceived by prospective

   purchasers as an indication of association with the former user. Unless the subsequent user



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   adequately distinguishes its use of the designation from the use by the original owner, the

   subsequent use is likely to deceive prospective purchasers with respect to the source or sponsorship

   of the goods or services.”); McCarthy on Trademarks § 17:2 (“[B]ecause their subsequent use of

   the abandoned mark may well evoke a continuing association with the prior user, those who make

   subsequent use may be required to take reasonable precautions to prevent confusion.”); see also

   Cumulus Media, Inc. v. Clear Channel Comm’ns, Inc., 304 F.3d 1167, 1179 n.18 (11th Cir. 2002).

          In the Motion Papers, Sprint moved for preliminary injunctive relief based on, among other

   things, its false designation of origin/unfair competition claim, which is premised in part on the

   fact that Defendants are relying and capitalizing on the association of that mark with Sprint, as

   well as the fame of and three-decades of goodwill embodied in the NEXTEL Mark, to attract

   customers, instead of Defendants’ own merits and efforts. Pl.’s Mot. at 11-15. Defendants did

   not, and cannot, contest that conclusion: their entire expressly admitted business model is to adopt

   famous and iconic brands like NEXTEL so that they can sell products by trading on the substantial

   goodwill and nostalgia consumers associate with those brands. Ex. 21 to Jobe Decl. (Retrobrands’

   website stating that “[n]ostalgia is very important to us Americans” and therefore Retrobrands’

   mission “is to revive ‘abandoned’ consumer iconic brands and to bring them back to the

   marketplace”).

          Despite this distinct avenue of relief and Sprint’s likelihood of success on the merits, the

   R&R rejects it out of hand, stating that Sprint has to establish use to have trademark rights to the

   NEXTEL Mark. R&R at 12. But this confuses the point: Sprint’s alternative unfair competition

   claim is not dependent on Sprint possessing trademark rights in the NEXTEL Mark. See Pl.’s Mot.

   at 13-15. It is based on the fact that, even assuming arguendo that Sprint had abandoned the

   NEXTEL Mark, unfair competition law prohibits any third-party – including Defendants – from




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   using the famous NEXTEL Mark because that use provides an unfair advantage in the marketplace

   due to the mark’s fame, inherent goodwill, and association with Sprint. Id.; Restatement (Third)

   of Unfair Competition § 30 cmt. a; McCarthy on Trademarks § 17:2; see also Cumulus, 304 F.3d

   at 1179 n.18; Belmora, 819 F.3d at 709-10. For this reason alone, the Court can decline to adopt

   the R&R and grant the Motion.

          ii.     Sprint Provided Sufficient Evidence of Use to Support its Other Claims

          Although Sprint’s likelihood of success on the unfair competition claim renders moot the

   R&R’s findings related to Sprint’s evidence of continued use, Sprint nevertheless objects to those

   findings. Specifically, the requirement that Sprint provide financial data in addition to the other

   evidence Sprint submitted to show non-abandonment is at odds with the binding Eleventh Circuit

   precedent Sprint cited in its Motion Papers. In the controlling case of Cumulus Media, Inc. v.

   Clear Channel Comm’ns, Inc., the Eleventh Circuit addressed a similar situation in which a

   plaintiff sought a preliminary injunction to enjoin trademark infringement and the defendant

   fought the preliminary injunction by arguing the plaintiff had abandoned its rights. 304 F.3d 1167

   (11th Cir. 2002). In reviewing the lower court’s decision, the Eleventh Circuit articulated the

   exacting burden that the defendant bears to prevent entry of a preliminary injunction based on an

   abandonment defense, defining it as “strict,” “stringent,” and “heavy.” Id. at 1175. The Cumulus

   court also confirmed that, even if the burden shifts to the plaintiff after the defendant establishes a

   prima facie case of abandonment, the plaintiff’s burden is simply a limited one of production, not

   persuasion. Id. at 1176-77. As a result, evidence as limited as showing use on business cards and

   a single billboard – with no information on how many people would actually see that billboard or

   receive those business cards – was sufficient to overcome an abandonment defense and establish

   a likelihood of success on the merits at the preliminary injunction stage. Id. at 1177 & n.10.

          The R&R simply cannot be squared with Cumulus. Although it recites the exacting burden


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   Cumulus places on Defendants, the R&R contains no analysis as to how Defendants met that

   burden. See R&R at 1-14. Defendants only “evidence” of abandonment are alleged public

   statements regarding Sprint’s alleged future plans for the NEXTEL Mark. Even that was addressed

   by Cumulus, explicitly holding that the “public announcement of [a] name change . . . does not

   alone serve to make a prima facie showing of abandonment. A defendant must also introduce

   evidence of nonuse.” Cumulus, 304 F.3d at 1178 n.17. Defendants have not done so here and the

   R&R does not state that they have.

          The R&R’s treatment of Sprint’s evidence of continued use is also contrary to the binding

   precedent of Cumulus. Sprint’s evidence of use in the form of product boxes, manuals, and

   testimony regarding sales is the same type of evidence that the court found sufficient in Cumulus.

   304 F.3d at 1177. By rejecting that evidence out of hand, the R&R ignores Cumulus’ binding

   statement of the burdens each parties bear at the preliminary injunction stage, and incorrectly

   places the heightened burden of persuasion on Sprint, requiring that Sprint provide financial data

   to corroborate Sprint’s other evidence of continued use. R&R at 8-10; Cumulus, 304 F.3d at 1176-

   77. Sprint therefore respectfully requests that the Court decline to adopt the R&R’s reasoning as

   contrary to controlling law.

          2.      Sprint Established a Likelihood of Confusion

          Although this is a counterfeiting case in which confusion is all but presumed, and despite

   acknowledging that Defendants conceded a likelihood of confusion, not to mention that confusion

   with famous brands is identified and acknowledged on Retrobrands’ website as its entire business

   model, the second ground upon which the R&R finds that Sprint did not establish a likelihood of

   success on the merits is predicated on the belief that Sprint has not met the Eleventh Circuit’s

   likelihood of confusion test.        R&R at 13; see also Louis Vuitton Malletier, S.A. v.

   Louisvuittonbasgonsale.com, No. 15-61814, 2015 WL 12550754, at *4 (S.D. Fla. Sept. 16, 2015)


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   (noting that it is reasonable to presume likelihood of confusion where a counterfeit mark is used).

   Sprint respectfully disagrees.

          i.      The R&R’s Weighing of the Factors Is Inconsistent with Circuit Law

          Likelihood of confusion is open and shut. Defendants use an exact copy of Sprint’s famous

   NEXTEL Mark, right down to the font and yellow and black coloring (including using the ® after

   NEXTEL to refer to Sprint’s trademark registration) on the same goods and services, through the

   same methods of marketing to the same consumers, who were actually confused, all with the intent

   of profiting off the goodwill Sprint created in that mark.

          It is well-settled that the likelihood of confusion test requires the court to balance and weigh

   the various factors. See, e.g., It’s A 10, Inc. v. Beauty Elite Grp., Inc., 932 F. Supp. 2d 1325, 1331

   (S.D. Fla. 2013) (“Plaintiff need not prevail on all seven factors to succeed in its trademark

   infringement claim. Rather the court looks to the overall balance of the factors to see if a

   reasonable consumer would be confused by the infringing mark.”). Moreover, certain factors –

   such as the strength of the plaintiff’s mark and the defendant’s intent – are weighted more heavily

   than others. See, e.g., Babbit Electronics, Inc. v. Dynascan Corp., 38 F.3d 1161, 1179 (11th Cir.

   1994); TracFone Wireless, Inc. v. Clear Choice Connections, Inc., 102 F. Supp. 3d 1321, 1332

   (S.D. Fla. 2015). Where those factors favor a finding of confusion, the remaining factors are

   unlikely to tip that balance. See, e.g., Frehling Enterprises, Inc. v. Int’l Select Group, Inc., 193

   F.3d 1330, 1332 (11th Cir. 1999).

          Here, the R&R does not contest that Sprint established that the factors related to the

   strength of the famous NEXTEL Mark, the similarity of the parties’ marks, and Defendants’ intent

   all favor a finding of confusion. R&R at 13. The R&R also does not find that any factors weigh

   against a finding of confusion. Id. It simply concludes that Sprint did not proffer enough evidence

   of actual confusion or establish that the similarities between the parties’ sales methods, advertising


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   methods, and goods weigh in favor of confusion, such that those factors are, at worst, neutral. Id.

          But even if the Court were to adopt this breakdown of the factors, the conclusion that there

   is not a likelihood of confusion does not follow. The three factors that the R&R does not contest

   as weighing in favor of a likelihood of confusion are significant. In fact, the Eleventh Circuit, in

   its oft-cited decision in Frehling Enterprises, Inc. v. International Select Group, Inc., reversed a

   district court and found a likelihood of confusion where the exact same three factors weighed in

   favor of finding confusion and the remaining factors were either neutral or disfavored confusion.

   Thus, on an even less favorable breakdown of the facts than the one found by the R&R, the

   Eleventh Circuit found clear error and reversed the district court’s finding of no likelihood of

   confusion. See Frehling, 193 F.3d at 1332 (reversing the district court and finding a likelihood of

   confusion where only three factors, the similarity of the marks, the strength of the mark, and the

   defendant’s intent, weighed in favor and the rest were neutral or slightly disfavored confusion).

          Moreover, it is well established in this Circuit that Defendants’ expressly admitted reason

   for adopting the NEXTEL Mark—because it is an iconic, famous mark that has substantial

   goodwill and creates feelings of nostalgia in consumers—is by itself enough to find a likelihood

   of confusion as a matter of law. Babbit Electronics, 38 F.3d at 1179 (finding likelihood of

   confusion as a matter of law where the defendant’s reason for infringing the plaintiff’s mark was

   improve sales of its telephone and therefore to derive economic benefit from the plaintiff’s mark);

   Ex. 21 to Jobe Decl. (Defendants publicly admitting that they are trying to trade on the goodwill

   embodied in, and nostalgia associated with, iconic marks, including NEXTEL); see also

   Louisvuittonbasgonsale.com, 2015 WL 12550754, at *4. Sprint therefore established a likelihood

   of success, even under the R&R’s interpretation of the factors.




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          ii.     The R&R’s Conclusions Regarding Factors 3, 4, 5, and 7 are Contradicted by the
                  Record

          In any event, Sprint also respectfully objects to the R&R’s factual conclusion that Sprint

   did not show that the sales methods, advertising methods, similarity of the goods, and actual

   confusion factors weigh in favor of confusion. With respect to the similarity of the sales methods

   or advertising methods, Sprint provided evidence showing that Defendants and Sprint sell their

   products to overlapping customer bases (including but not limited to first responders) through retail

   stores and both advertise their products at least at the same trade shows. See, e.g., Jobe Decl. ¶¶

   25-26, 38, 45; Mancuso Decl. ¶¶ 9-12, 15. Sprint even discovered Defendants’ use through

   attendance at the same trade show. Mancuso Decl. ¶¶ 7-8 & Exs. A-D; see also Jobe Decl. ¶ 27.

   Although the R&R dismisses this evidence as “little or no[t] compelling,” that ignores that this is

   the exact type of evidence that is often relied upon to find this factor favors confusion (not to

   mention that Sprint is submitting these papers before discovery). See Louisvuittonbagsonsale.com,

   2015 WL 12550754, at *4 (finding that the similarity of sales and advertising methods factors

   weigh in favor of confusion where there is a single form of advertising in common and the

   customers are the same).

          With respect to the similarity of the goods factor, Sprint demonstrated that this factor

   weighs in favor of finding confusion by providing evidence that Defendants are selling wireless

   devices that are identical, closely related to, or within the zone of natural expansion of the devices

   sold by Sprint. Babbit Electronics, 38 F.3d at 1181 (affirming confusion based on use of an

   identical mark on similar telephones); Louisvuittonbagsonsale.com, 2015 WL 12550754, at *4

   (finding the similarity of goods factors supports confusion where the goods are nearly identical).

   The R&R nevertheless appears to reject Sprint’s evidence based on the belief that, although both

   parties sell wireless devices, Sprint’s Sonim XP Strike IS is not a “push-to-talk” device. R&R at



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   13. Regardless of whether that is true, this granular analysis of the type of goods is not permitted

   under trademark law. See, e.g., Frehling, 192 F.3d at 1338 (“This factor requires a determination

   as to whether the products are the kind that the public attributes to a single source, not whether or

   not the purchasing public can readily distinguish between the products of the respective parties.”).

          Finally, the R&R states that “the only evidence that Sprint offered of potential confusion

   is from its own employees” and that “evidence that shows instances of actual consumer confusion

   is the best proof.” R&R at 13 (emphasis in original). But Sprint did provide evidence of actual

   consumer confusion, and it is unclear why the R&R fails to rely on it. Specifically, in the

   declaration of Brian Mancuso, Mr. Mancuso recounted several instances in which he was

   approached by consumers during a trade show who mistakenly believed that Defendants’

   NEXTEL booth was affiliated with, sponsored by, or in some other way connected to Sprint.

   Mancuso Decl. ¶¶ 16-17. Similarly, in connection with the declaration of Ms. Jobe, Sprint

   provided evidence to show that Defendants had caused actual confusion among its potential

   distributors or dealers (i.e., the first layer of customers that buy and then resell Defendants’

   counterfeit products) because those dealers or distributors falsely believed that Defendants were

   authorized licensees of the NEXTEL brand or had bought the NEXTEL brand. Jobe Decl. ¶ 30.

   Thus, although actual consumer confusion is not even needed to establish a likelihood of

   confusion, because in most cases, it is impossible to find, Sprint nevertheless (even before

   discovery) provided significant evidence of that confusion, especially in light of the short amount

   of time in which Defendants have been violating Sprint’s rights. See, e.g., Caliber Automotive

   Liquidators, Inc. v. Premier Chrysler, Jeep, Dodge, LLC, 605 F.3d 931, 937 (11th Cir. 2010)

   (noting that “‘the quantum of evidence needed to show actual confusion is relatively small’”

   (citation omitted)).




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   IV.    CONCLUSION

          WHEREFORE, for at least the foregoing reasons, Sprint Communications respectfully

   requests the Court decline to adopt the July 5, 2018 Report and Recommendation and instead, after

   a de novo review, grant the Motion and enter a preliminary injunction against Defendants.


   Dated: July 19, 2018                        MCGUIREWOODS LLP

                                                 /s/ Sara F. Holladay-Tobias
                                                  Sara F. Holladay-Tobias
                                                  Fla. Bar No. 26225
                                                  Emily Y. Rottmann
                                                  Fla. Bar No. 93154
                                                  stobias@mcguirewoods.com
                                                  erottmann@mcguirewoods.com
                                                  flservice@mcguirewoods.com
                                                  50 North Laura Street, Suite 3300
                                                  Jacksonville, Florida 32202
                                                  Tel: (904) 798-3200
                                                  Fax: (904) 798-3207

                                                 Brad R. Newberg (admitted pro hac vice)
                                                 bnewberg@mcguirewoods.com
                                                 1750 Tysons Boulevard
                                                 Suite 1800
                                                 Tysons, Virginia 22102
                                                 Tel: (703) 712-5000
                                                 Fax: (703) 712-5050

                                                 Lucy Jewett Wheatley (admitted pro hac vice)
                                                 Amanda L. DeFord (admitted pro hac vice)
                                                 lwheatley@mcguirewoods.com
                                                 adeford@mcguirewoods.com
                                                 Gateway Plaza
                                                 800 East Canal Street
                                                 Richmond, Virginia 23219
                                                 Tel: (804) 775-1000
                                                 Fax: (804) 775-1061

                                              Attorneys and Trial Counsel for Plaintiff Sprint
                                              Communications, Inc.



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                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 19, 2018, I electronically filed the foregoing with the Clerk of

   the Court by using the CM/ECF system, which will cause the foregoing document to be

   electronically served on all counsel of record.


                                                          /s/ Sara F. Holladay-Tobias
                                                          Attorney




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                                     Case No. 0:18-cv-60788-JEM


   Ury Fischer, Esq.
   LOTT & FISCHER PL
   255 Aragon Avenue, Third Floor
   Coral Gables, FL 33134
   ufischer@lottfischer.com


   Benjamin Ashurov, Esq.
   Neil A. Smith, Esq.
   KB ASH LAW GROUP PC
   7011 Koll Center Parkway, Suite 160
   Pleasanton, CA 94566
   bashurov@kb-ash.com
   nsmith@kb-ash.com


   James J. Kernell, Esq.
   ERICKSON KERNELL IP
   8900 State Line Road, Suite 500
   Leawood, KS 66206
   jjk@kcpatentlaw.com
   Counsel for Defendants




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